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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK



In re TERRORIST ATTACKS ON                               Case No. 1:03-md-01570-GBD-SN
SEPTEMBER 11, 2001


This document relates to:

The Underwriting Members of Lloyd’s
Syndicate 2, et al. v. Al Rajhi Bank, et al., No.
16-cv-7853; Aguilar, et al. v. Kingdom of
Saudi Arabia, et al., No. 16-cv-09663;
Addesso, et al. v. Kingdom of Saudi Arabia, et
al., No. 16-cv-09937; Hodges, et al. v.
Kingdom of Saudi Arabia, et al., No. 17-cv-
0117; Aiken, et al. v. Kingdom of Saudi Arabia,
et al., No. 17-cv-00450; Charter Oak Fire
Insurance Co., et al. v. Al Rajhi Bank, et al.,
No. 17-cv-02651; Abarca, et al., v. Kingdom of
Saudi Arabia, et al., No. 17-cv-03887;
Arrowood Indemnity Co., et al. v. Kingdom of
Saudi Arabia, et al., No. 17-cv-03908; and
Abedhajajreh, et al., v. Kingdom of Saudi
Arabia, et al., No. 17-cv-06123.



    MOTION FOR ADMISSION OF MATTHEW S. LEDDICOTTE PRO HAC VICE

       Pursuant to Rule 1.3 of the Local Rules of the United States District Courts for the

Southern and Eastern Districts of New York, Matthew S. Leddicotte hereby moves this Court for

an Order for admission to practice Pro Hac Vice to appear as counsel for Al Rajhi Bank in the

above-captioned actions.

       I am in good standing of the bar of the District of Columbia and there are no pending

disciplinary proceedings against me in any state or federal court. I have never been convicted of

a felony. I have never been censured, suspended, disbarred or denied admission or readmission
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by any court. I have attached the affidavit and certificate of good standing pursuant to Local

Rule 1.3.


Dated: August 21, 2017                            Respectfully submitted,



                                                  /s/ Matthew S. Leddicotte
                                                  Matthew S. Leddicotte
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                                                  Counsel for Al Rajhi Bank




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                                CERTIFICATE OF SERVICE

       I hereby certify that, on August 21, 2017, I caused an electronic copy of the foregoing

Motion For Admission Of Matthew S. Leddicotte Pro Hac Vice to be served electronically by

the Court’s Electronic Case Filing (ECF) System. I caused the foregoing to be filed on the MDL

docket and the dockets for the following consolidated cases:

       The Underwriting Members of Lloyd’s Syndicate 2, et al. v. Al Rajhi Bank,
           et al., No. 16-cv-7853;
       Aguilar, et al. v. Kingdom of Saudi Arabia, et al., No. 16-cv-09663;
       Addesso, et al. v. Kingdom of Saudi Arabia, et al., No. 16-cv-09937;
       Hodges, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-0117;
       Aiken, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-00450;
       Charter Oak Fire Insurance Co., et al. v. Al Rajhi Bank, et al., No. 17-cv-02651;
       Abarca, et al., v. Kingdom of Saudi Arabia, et al., No. 17-cv-03887;
       Arrowood Indemnity Co., et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-03908; and
       Abedhajajreh, et al., v. Kingdom of Saudi Arabia, et al., No. 17-cv-06123.


Dated: August 21, 2017                             /s/ Matthew S. Leddicotte
                                                   Matthew S. Leddicotte




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